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    7
    8                                                   IN THE UNITED STATES DISTRICT COURT FOR
    9                    THE CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   10
   11 LEAH SNYDER,                               )                              Case No. 8:21-cv-00187-CJC-KES
                                                 )
   12               Plaintiff,                   )                              PLAINTIFF LEAH SNYDER’S
                                                 )                              MEMORANDUM OF POINTS
   13   vs.                                      )                              AND AUTHORITIES IN
                                                 )                              OPPOSITION TO DEFENDANT’S
   14   ALIGHT SOLUTIONS, LLC, an Illinois )                                    MOTION FOR SUMMARY
        Limited Liability Co., and DOES 1 TO 10, )                              JUDGMENT OR PARTIAL
   15                                            )                              SUMMARY JUDGMENT, AT
                    Defendants.                  )                              DOC. 99
   16                                            )
                                                 )                              [Filed concurrently with Declarations
   17                                            )                              of David Flyer, and Leah Snyder,
                                                 )                              Statement of Genuine Disputes of
   18                                            )                              Material Fact [Doc. 102] and
                                                 )                              Objection to Defendant’s Request for
   19                                            )                              Judicial Notice [Doc. 103]
                                                 )
   20                                            )                              District Judge:
                                                 )                                           Hon. Cormac J. Carney
   21                                            )                              Magistrate Judge:
                                                 )                                           Hon. Karen E. Scott
   22                                            )
                                                 )                              Date:       July 25, 2022
   23                                            )                              Time:       1:30 p.m.
                                                 )                              Courtroom: 9B
   24                                            )                              Complaint filed:
                                                 )                                          January 26, 2021
   25   __________________________________ )                                    Trial Date: November 8, 2022
   26
   27 TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS:
   28
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                                                                          OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
                                                                                               Case No. 8:21-cv-00187-CJC-KES
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    1                               1. OVERVIEW OF LAW APPLIED TO MATERIAL FACTS
    2                     This Honorable District Court early on identified the law applicable to claims
    3 for wrongful termination in violation of public policy and breach of the covenant of
    4 good faith and fair dealing, at Doc. 30, pp. 4-6, observing:
    5                            ... [A]n employer may not terminate an at-will employee for an
                          unlawful reason, or for a purpose that contravenes fundamental public
    6                     policy. [Yau v. Santa Margarita Ford, Inc., 229 Cal.App.4th 144, 155
                          (2014)]. When an employee is discharged in violation of ‘fundamental
    7                     principles of public policy,’ the employee may maintain a tort action and
                          recover damages traditionally available in such actions.” Grinzi v. San
    8                     Diego Hospice Corp., 120 Cal. App. 4th 72, 79 (2004) (quotations
                          omitted). California courts recognize four categories of public policy
    9                     cases: “the employee (1) refused to violate a statute; (2) performed a
                          statutory obligation; (3) exercised a constitutional or statutory right or
   10                     privilege; or (4) reported a statutory violation for the public’s benefit.”
                          Green v. Ralee Eng’g Co., 19 Cal. 4th 66, 76 (1998).
   11
   12                     Since Defendant had no facts nor evidence to justify termination of Plaintiff’s
   13 employment based on alleged participation in a riot, on March 29, 2021, Defendant
   14 supported its motion to dismiss [Doc. 10] with newspaper clippings, press releases
   15 and arrests of other people [see Docs. 13-2 through 13-11, and 13-13]. Today, after
   16 15 depositions and exchanges of extensive written discovery Defendant still has no
   17 facts nor evidence to justify termination of Plaintiff based on alleged participation in
   18 a riot, so Defendant supports its motion for summary judgment with stale newspaper
   19 clippings [see repeat Docs. 103-3 through 103-5, and 103-7 through 103-9]. Worse,
   20 there are additional material facts based on actual eye witness testimony, proving that
   21 Plaintiff was simply a bystander at a political rally who neither entered the Capitol,
   22 nor crossed any barricades or damaged any property [see Additional Contested Facts
   23 in Plaintiff’s Statement of Genuine Disputes of Material Facts, “ACF”1, at page 11].
   24                     Defendant cannot ignore unfavorable facts in seeking summary judgment, see
   25 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249, 106 S.Ct. 2505 (1986) “summary
   26 judgment will not lie if the dispute about a material fact is ‘genuine,’ that is, if the
   27 evidence is such that a reasonable jury could return a verdict for the nonmoving
   28 party.” Defendant knew or should have known of the existence of material facts in
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    1 opposition to its summary judgment motion based on deposing the two people who
    2 accompanied Plaintiff to Washington, D.C., Sam Lewis and Maria Jaramillo. They
    3 were in Plaintiff’s presence and testified they did not cross barricades nor observe any
    4 rioting. But, there is no mention of the eye witnesses in the moving papers probably
    5 because Defendant seeks to address their testimony in rebuttal for the first time, when
    6 Plaintiff has no opportunity to reply. If that is Defendant’s intent – then it is unfair.
    7                     With respect to the social media posting that appeared on Defendant’s private
    8 Facebook page – which was not visible to the public – Plaintiff did not identify
    9 herself as Defendant’s employee; rather the cyber-bully labeled her as part of his
   10 attack [ACF2]. Plaintiff is an innocent victim of the cyber attack, but Defendant
   11 elected to punish her for not conforming to its single-minded interpretation of a riot.
   12                     The applicable categories of public policy at issue here are termination for
   13 exercising a statutory right to express political opinions and for reporting
   14 cyberbullying as required by express Company Policy [ACF3]. The additional
   15 material facts in opposition to Defendant’s motion for summary judgment, are:
   16 Plaintiff was employed for over 20 years as a computer programmer and coder by
   17 Defendant [ACF4]. On her own time, she visited Washington, D.C., to attend a
   18 political rally on January 6, 2021. She was told the rally organizers had a lawful
   19 permit [ACF5]. She periodically asked law enforcement officers if she was allowed
   20 to be in the locations where she was walking or standing and was told she was
   21 authorized to be there. She did not cross any barricades [ACF6].
   22                     In fact, when Plaintiff was standing outside of the Capitol, near a window with
   23 the glass removed, a police officer who had been speaking with her, reached through
   24 the window and shook hands with her friend, Maria Jaramillo [which activity was
   25 captured in a photo, ACF7 and Exhibit “P”]. When a law enforcement officer reaches
   26 out and shakes hands, this is certainly not an indication that any law is being broken.
   27 Plaintiff listened to speeches; she did not participate in any rioting [ACF8]. Later she
   28 engaged in debate on social media only to find gender degrading remarks and death
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    1 threats posted about her, some of which made it to Defendant’s private social media
    2 inbox [ACF9]. Defendant suffered no adverse consequences from the social media
    3 posting, because the comments could not be viewed by others [ACF10].
    4                     Company Policy as interpreted by the chief compliance officer, Mary De
    5 Angelo, encouraged employees to report harassing remarks of the type made to
    6 Plaintiff, and Plaintiff truthfully reported the remarks to the Company [ACF11].
    7 “Deeply troubled by [Plaintiff’s] apparent alliance with the rioters ...” [Doc. 30, p. 2
    8 and Doc. 100, 8:15], Defendant terminated Plaintiff’s employment within 48 hours of
    9 her complaint of harassment, in a decision which Customer Experience Officer Cesar
   10 Jelvez made in just 10 minutes [ACF12]. Defendant’s claim that employment
   11 termination was due to Plaintiff’s participation in a riot or crossing barricades or
   12 standing by a window with glass removed for a social media posted photograph, is
   13 pretextual [ACF13]. Indeed, in order to appease its major stakeholder, Defendant
   14 maliciously acted to harm Plaintiff, without giving her any due process rights to
   15 explain her position after being confronted with allegations of participation in a riot.
   16 Plaintiff was never criminally charged, and Defendant chose to believe
   17 “entertainment” news commentary rather than actual eye witnesses to Plaintiff’s
   18 innocent activities in Washington, D.C. [ACF14]. Defendant’s purported avenue for
   19 success by motion requires the Court to find that there was a riot, and Plaintiff
   20 crossed barricades or performed other illegal conduct, such that she could not be an
   21 just a bystander. Defendant asserts everyone near the scene should be tarred with the
   22 same broad brush, because they are obviously politically affiliated.
   23                     Defendant’s “Brief Statement of Law Regarding Access to United States
   24 Capitol Grounds” [Doc. 100, 2:14-3:28] must be disregarded. The Traffic Regulations
   25 are irrelevant to this action since (1) Defendant did not rely on them in making its
   26 termination decision [ACF12], and (2) Defendant has not met its burden by showing
   27 that Plaintiff was engaged in “demonstration activity” at the time the photographs of
   28 her were taken outside the Capitol [ACF1]. See Lederman v. United States, 291 F.3d
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    1 36, 39 (D.C. Cir. 2002): “Although barricades prevent vehicles from entering this
    2 central area except through designated gatehouses, no barriers impeded pedestrian
    3 access. As a result, members of the public use the area extensively, commuting to
    4 work, sightseeing, posing for pictures, jogging, and walking dogs.” [Cited by
    5 Defendant at Doc. 100, 9:19, re an earlier matter, just not read far enough by it].
    6                                                   2. LEGAL ANALYSIS
    7 A.                  Wrongful Termination in Violation of Public Policy
    8                     (1) Material Facts Supporting Wrongful Termination Claim
    9                     Defendant retaliated against Plaintiff for fulfilling her duty under Company
   10 Policy and her statutory rights to exercise political speech and to assemble. Company
   11 Policy is defined in Defendant’s Code of Conduct:
   12                            Reporting harassment and discrimination. Complaints of
                          harassment or discrimination can be reported to a manager, to Human
   13                     Resources or via the Ethics Helpline. Although all colleagues should
                          report any incidents of harassment or discrimination that they witness or
   14                     experience, managers and supervisors must report to HR all harassment
                          and discrimination complaints (both formal and informal) they receive.
   15
        [Exhibit “B,” p. 00034, ACF3].
   16
   17                     Plaintiff was harassed while presenting her opinions on social media, and she
   18 became the victim of death threats. She reported the harassment in speaking on the
   19 telephone with chief compliance officer, Mary De Angelo, who testified:
   20                     Q. BY MR. FLYER: So this conversation [with Ms. Snyder] lasted 15 to
                          20 minutes. Did Leah [Snyder] have a duty to report to Alight that she
   21                     was being harassed online?
   22                     THE WITNESS: So to -- as well as I understand the question, it would
                          be encouraged perhaps, not required.
   23
                          Q. BY MR. FLYER: When you say "encouraged," are you referring to
   24                     the code of conduct of Alight?
   25                     A. Yes.
   26 [De Angelo Tr. 8:21-9:7, ACF11].
   27                     Continuing, Ms. De Angelo testified:
   28                     Q. Did you believe she was telling you about harassment online in good
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    1                     faith?
    2                     A. I believe that she indicated in our conversation, as I said previously,
                          that she was being harassed.
    3
                          Q. Did you believe she was truthful?
    4
                          A. In our conversation, yes, I believe that the point of our conversation
    5                     was to capture her understanding of what actually occurred on that day,
                          so I had no reason to believe she was not being truthful.
    6
        [De Angelo Tr. 11:13-23, Id.].
    7
    8                     Termination of employment occurred within 48 hours of Plaintiff complying
    9 with Company Policy. Defendant avers Plaintiff was in a photo taken outside the
   10 Capitol near a window with the glass removed and that she crossed barricades to get
   11 there [Doc. 100, 20:8-13]. However, no witness presented by Defendant saw Plaintiff
   12 cross any barricade [ACF1 and ACF13]. Defendant argues that traffic regulations
   13 restricted access and barricades must have been set up according to the news media
   14 [Doc. 100, 14:1-2]. Defendant did not rely on the alleged traffic regulations in
   15 terminating Plaintiff, making the discussion irrelevant under Fed.R.Evid. Rule 401.
   16 Also, restricted access does not apply when Plaintiff was not demonstrating, and
   17 particularly when law enforcement officers repeatedly informed Plaintiff it was legal
   18 for her to be standing and walking where she was [ACF6]. One officer even reached
   19 through a window with glass removed to shake hands with Plaintiff’s friend [ACF7].
   20 Patently, Plaintiff broke no laws.
   21                     (2) Retaliation Against Plaintiff Based on Reporting Harassment
   22                     In Tameny v. Atlantic Richfield Co., 27 Cal.3d 167, 172 (1980), the California
   23 Supreme Court recognized that terminating a 15 year employee in retaliation for his
   24 refusal to participate in an illegal pricing scheme pled a viable claim for the
   25 employee, and confirmed that other “courts have recognized that an employer's
   26 traditional broad authority to discharge an at-will employee ‘may be limited by statute
   27 ... or by considerations of public policy... [including] (... reporting violations of
   28 consumer protection laws).’” Defendant cannot contest the duty to report the
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    1 harassment, since its chief compliance officer in interpreting Defendant’s Code of
    2 Conduct, testified that employees are encouraged to report harassment and that
    3 Plaintiff truthfully reported the harassment. Although, Defendant mentions Tameny
    4 [Doc. 22, 7-11], it does not explain why the Supreme Court precedent does not apply.
    5                     Defendant argues that it investigated Plaintiff’s claim she was being harassed
    6 [Doc. 100, 17:18-27]. But, first it does NOT state the results of the investigation, and
    7 second, it does NOT explain why, if the investigation was incomplete, there was still
    8 a need to rush through the termination of employment within 48 hours, see Garcia-
    9 Brower v. Premier Auto. Imports of CA, LLC, 55 Cal.App. 5th 961, 975–76 (2020)
   10 (termination within 48 hours was a key fact in showing lack of diligent investigation
   11 based on employee’s alleged failure to reveal misdemeanor conviction, which
   12 supported reversal of nonsuit) [Doc. 10, 14:17-18, Defendant’s earlier motion]. The
   13 appellate court observed:
   14                            Nothing prevented the company from taking more than a weekend
                          to evaluate whether it was proceeding in a lawful manner or from taking
   15                     stock of Molina's disclosure that her conviction had been judicially
                          dismissed. Whether an employer has conducted an adequate
   16                     investigation before dismissing an employee for an unlawful purpose is
                          generally a question of fact for the jury.
   17
        Id. at 974 [Emphasis added].
   18
   19                     From Bowen v. M. Caratan, Inc., 142 F.Supp.3d 1007, 1029-1030 (E.D. Cal.
   20 2015) (summary judgment denied due to issue of material fact as to whether
   21 employer’s grounds for termination were pretextual), the elements of the claim for
   22 wrongful termination are:
   23                            (1) [A]n employer-employee relationship existed between Plaintiff
                          and Defendant; (2) Plaintiff's employment was terminated; (3) the
   24                     violation of public policy was a motivating reason for her termination;
                          and (4) the termination was the cause of Plaintiff's damages.
   25
   26                     Defendant concedes it bears the burden of proving by preponderance of
   27 evidence that either an element of the claim cannot be shown or it had a legitimate
   28 reason to terminate the employee, relying on McDonnell Douglas Corp. v. Green, 411
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 1 U.S. 792 (1973) [Doc. 100, 21:11-14]. McDonnell is a racial discrimination case, not
 2 a retaliation based on required reporting to management case. Here, the investigation
 3 into Plaintiff’s reporting of cyberbullying according to Defendant, was cast aside or
 4 abandoned, in favor of investigating allegedly illegal conduct by Plaintiff [Doc. 100,
 5 19:17-21]. However, the predicate for the investigation into Plaintiff’s alleged
 6 participation in a riot was her telephone call about cyberbullying.
 7                     None of Defendant’s authorities fit the material facts here. Two of its cases
 8 involved the whistle-blower statute, see Carter v. Escondido Union High Sch. Dist.,
 9 148 Cal.App.4th 922 (2007) (teacher who was terminated during probationary period
10 could not invoke Labor Code §1102.5 for telling a coach at another school about
11 nutritional supplements) [Doc. 100, 22:14] and Brede v. Science App. Int’l Corp.,
12 2014 WL 793118 (2014) (employment termination was for reporting perceived
13 misrepresentation by employer) [Doc. 100, 21:21]. Plaintiff was required to report
14 cyberbullying, which Defendant used as a springboard for terminating her.
15                     (3) Grounds for Termination Were Politically Motivated
16                     Returning to Doc. 30 at p. 5, the Court explained the legal theory of wrongful
17 termination for engaging in statutorily permitted activity:
18                            Plaintiff alleges that she was wrongfully terminated for exercising
                       “constitutional rights to speak freely, peaceably assemble or petition her
19                     grievances to the government.” ... She alleges that her termination was in
                       violation of the public policy described California Labor Code §§ 1101
20                     and 1102. “Sections 1101 and 1102 . . . prohibit employers from
                       interfering with ‘the fundamental right of employees in general to engage
21                     in political activity.’” Couch v. Morgan Stanley & Co. Inc., 656 F. App’x
                       841, 842 (9th Cir. 2016). “[L]iability under §§ 1101(a) and 1102 is
22                     triggered only if an employer fires an employee based on a political
                       motive.” Id. at 843.
23
                       The Court also inserted the terms of Labor Code §§1101(a) and 1102, fn. 3:
24
                              Section 1101 states: “No employer shall make, adopt, or enforce
25                     any rule, regulation, or policy . . . forbidding or preventing employees
                       from engaging or participating in politics, or . . . controlling or directing,
26                     or tending to control or direct the political activities or affiliations of
                       employees.” Section 1102 states: “No employer shall coerce or influence
27                     or attempt to coerce or influence his employees through or by means of
                       threat of discharge or loss of employment to adopt or follow or refrain
28                     from adopting or following any particular course or line of political
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 1                     action or political activity.”
 2                     Defendant attempts to prove a riot must have occurred by references to
 3 “entertainment” news articles that only show one point of view. Reliance on skewed
 4 reporting is further evidence that Defendant’s decision to terminate Plaintiff was
 5 politically motivated in violation of both Labor Code §§1101 and 1102.
 6                     The leading case on interpretation of Labor Code §§1101 and 1102 is
 7 Lockheed Aircraft Corp. v. Superior Court, 28 Cal.2d 481 (1946) [Doc. 10, 11:6-7,
 8 Defendant’s motion], where the California Supreme Court interpreted and then
 9 expressly upheld the validity of these Labor statutes against the employer’s
10 constitutional challenges when confronted with a wartime protest demonstration by
11 18 employees whom the employer terminated, Id. 484-486. Note that Lockheed
12 involved protests against an aircraft manufacturer/weapons supplier during time of
13 war; there was no war on January 6, 2021. Labor Code §§1101 and 1102 vest a
14 private cause of action in employees against employers who seek to restrict the rights
15 of political speech and assembly.
16                     In a factually similar case, see Pease v. Gore, 2018 WL 4951957 at*5 (S.D.
17 Cal. 2018): “Even if other persons engaged in scuffles and threw some bottles at each
18 other and even if such conduct falls outside the First Amendment's protections, the
19 Complaint alleges that Plaintiff was not one of these persons.” To date, Defendant
20 has not presented any evidence that Plaintiff crossed barricades or was in a location
21 where she should not have been.
22                     Even if there have been other individuals criminally charged, Plaintiff was not
23 one of those persons. Defendant ignored Plaintiff’s version of facts and retaliated
24 against her for reporting harassment and speaking about her experience on social
25 media. Turning to Defendant’s cited cases, Couch v. Morgan Stanley & Co. Inc., 656
26 F.App’x 841 (9th Cir. 2016) [Doc. 100, 8:26], is factually distinguishable. In Couch,
27 a full-time financial advisor campaigned to be elected to the board of supervisors, a
28 35 hour/wk position, Id., at 842. There was a non-political reason for termination
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 1 since plaintiff could not work both as a full-time financial advisor and a full-time
 2 supervisor, Id., at 843. In contrast, Defendant’s only reason for terminating Plaintiff
 3 was pretextual. Pretext can reasonably be inferred since the termination decision was
 4 made in 10 minutes with no actual evidence and in fact ignored the evidence that
 5 Plaintiff was a peaceful observer [ACF12 and ACF13]. Further, Plaintiff was not
 6 given any opportunity to rebut the unfair charges against her.
 7                     Returning to Lederman v. United States, 291 F.3d 36 (D.C. Cir. 2002)
 8 [100, 9:19], the circuit court actually held that there are constitutional limits against
 9 restricting public access outside the Capitol building: “In deciding how to classify
10 the East Front sidewalk, we have little maneuvering room, as courts have long
11 recognized that the Capitol Grounds as a whole meet the definition of a traditional
12 public forum: They have traditionally been open to the public, and their intended use
13 is consistent with public expression.” Id., at 41.
14                     In Lawler v. Montblance N. Am., LLC, 704 F.3d 1235 (9th Cir. 2013) our
15 Circuit Court confirmed granting of summary judgment because the employer’s
16 termination decision was not pretextual in a case where plaintiff-manager was
17 physically unable to perform her job. By contrast, Plaintiff was not terminated for
18 inability to perform her job, the same job she had been performing for 20 years. She
19 was terminated as repeatedly stated by Defendant, because Defendant was: “Deeply
20 troubled by [Plaintiff’s] apparent alliance with the rioters ...” [Doc. 30, p. 2].
21                     Defendant cites to Light v. Dep’t of Parks & Recreation, 14 Cal.App.5th 75, 94
22 (2017) [Doc. 100 page 26:26], for the proposition that there had to be more than a
23 “mere temporal relationship between an employee’s protected activity and the adverse
24 employment action.” There is much more than a temporal relationship here. The
25 discussion on social media following attendance at the political rally, and reporting
26 the cyberbulling to Defendant, were all protected activity. Defendant did not just
27 terminate Plaintiff around the same time as these events occurred, but based on its
28 own interpretation that anyone who attended the events on January 6, 2021 must have
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 1 been guilty of a crime, terminated Plaintiff’s employment.
 2                     Defendant adopted a lock-step approach to dealing with Plaintiff due to its
 3 uniform corporate ideology: the rally was a riot, period. During Plaintiff’s
 4 deposition, ironically she was shown one of the cell phone videos she had taken of
 5 the inside of the Jefferson Memorial – one purpose of her trip was a vacation to see
 6 the monuments around Washington, D.C. [ACF15]. The video captured the famous
 7 quotation of our Third President in a letter to Dr. Benjamin Rush: “I have sworn on
 8 the altar of God eternal hostility to every form of tyranny over the mind of man.” A
 9 corporate policy which considers an observer of a political rally to be a rioter is “a
10 form of tyranny over the mind of man.” It is not persuasive for Defendant to argue
11 based on snippets from case law and only portions of testimony of some witnesses,
12 while entirely ignoring eye witness testimony, that it has proved absence of political
13 motivation to terminate Plaintiff.
14 B.                  Defendant Terminated Plaintiff’s Employment in Violation of its Policy
15                     The breach of covenant of good faith and fair dealing claim rests on
16 Defendant’s promise it would not terminate employment for an employee who
17 complied with her duty to report severe cyber-harassment or participated in political
18 speech or assembly. The elements of the claim under CACI 2423, which applies the
19 analysis of the Supreme Court in Guz v. Bechtel National, Inc., 24 Cal.4th 317, 353
20 fn. 18 (2000) (benefits are contractual, but employer cannot by pretext defraud an
21 employee from her benefits) [Doc. 100, 27:12]], are:
22                            (1) Plaintiff and Defendant entered into an employment
                       relationship; (2) Plaintiff substantially performed her job duties; (3) all
23                     conditions required for Defendant’s performance had occurred;
                       (4) Defendant by pretext claimed Plaintiff participated in a riot,
24                     terminated her and prevented her from receiving benefits of her
                       employment; (5) In doing so, Defendant did not act fairly and in good
25                     faith; and (6) Plaintiff was harmed by Defendant’s conduct.
26                     The California Supreme Court recognized that the implied covenant of good
27 faith and fair dealing applies in all contracts. See Cates Constr., Inc. v. Talbot
28 Partners, 21 Cal.4th 28, 42 (1999). Here, Plaintiff was employed by Defendant for
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 1 20 years. Plaintiff’s employment was governed by a “Code of Conduct” which stated
 2 Defendant would value and promote diversity, and demanded those who see
 3 harassment report it without fear of retaliation. These were the agreed terms between
 4 Plaintiff and Defendant. See Foley v. Interactive Data Corp., 47 Cal.3d 654, 680
 5 (1988):
 6                           In the employment context, factors apart from consideration and
                       express terms may be used to ascertain the existence and content of an
 7                     employment agreement, including "the personnel policies or practices of
                       the employer, the employee's longevity of service, actions or
 8                     communications by the employer reflecting assurances of continued
                       employment, and the practices of the industry in which the employee is
 9                     engaged."
10                     In Guz v. Bechtel Nat. Inc., supra, plaintiff alleged both a breach of an implied
11 contract cause of action and breach of the implied covenant of good faith and fair
12 dealing causes of action, as such the claim “merely realleges that breach as a violation
13 of the covenant is superfluous.” Id., at 352. In Tam v. Qualcomm, Inc., 300
14 F.Supp.3d 1130, 1146 (S.D. Cal. 2018) the court reasoned:
15                           The relevant factors to determine whether an implied-in-fact
                       contract might exist include “the personnel policies or practices of the
16                     employer, the employee's longevity of service, actions or
                       communications by the employer reflecting assurances of continues [sic:
17                     continued] employment, and the practices of the industry in which the
                       employee is engaged.”... Foley, 47 Cal. 3d at 681 ....
18
                             ... If Plaintiff wishes to plead facts to support an express contract
19                     and a breach of the implied covenant of good faith and fair dealing then
                       he may do so. If Plaintiff wishes to plead facts to support an
20                     implied-in-fact contract then he may do so....
21                     “The determination whether an implied contract not to terminate except for
22 good cause exists is an issue of fact.” Luck v. S. Pac. Transportation Co., 218
23 Cal.App.3d 1, 14–15 (1990) (employee terminated for refusal to submit urine sample
24 presented sufficient evidence to the jury to support verdict awarding damages for
25 wrongful termination and breach of the implied covenant of good faith and fair
26 dealing). In Luck, the plaintiff worked for a railroad company for over six years,
27 where she was promoted and received salary increases. Continuing, Id.:
28 ///
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 1                                               These factors contribute to a reasonable expectation
                                          that she would not be terminated except for good
 2                                        cause....Therefore, the jury's implied finding that a contract
                                          existed is supported by substantial evidence.... As the
 3                                        statutory presumption that Luck was an at-will employee
                                          was overcome by evidence of an implied contract, Southern
 4                                        Pacific was required to show good cause for her
                                          termination.
 5
 6                     Almost all of the witnesses who presented testimony on behalf of Defendant
 7 worked for the same predecessors-in-interest of Defendant, as did Plaintiff [ACF4].
 8 In sequence, long term employment involved tenure at Hewitt, then Aon-Hewitt, and
 9 Aon spun off Hewitt, which became Alight Solutions, LLC. But for Defendants
10 wrongful acts, Plaintiff should have been able to complete her working career with
11 the same company.
12 C.                  Punitive Damages are Justified
13                     Civil Code §3294 provides in pertinent part:
14                            (a) In an action for the breach of an obligation not arising from
                       contract, where it is proven by clear and convincing evidence that the
15                     defendant has been guilty of oppression, fraud, or malice, the plaintiff, in
                       addition to the actual damages, may recover damages for the sake of
16                     example and by way of punishing the defendant. ...
17                                        (c) As used in this section, the following definitions shall apply:
18                            (1) “Malice” means conduct which is intended by the defendant to
                       cause injury to the plaintiff or despicable conduct which is carried on by
19                     the defendant with a willful and conscious disregard of the rights or
                       safety of others.
20
21                     The law of punitive damages as applied in a labor setting is appropriately
22 described in Rubio v. CIA Wheel Group, 63 Cal.App.5th 82, 91 (2021) (holding
23 employer liable for economic and punitive damages in case involving termination due
24 to medical condition after bench trial): “As the California Supreme Court explained
25 in Simon [v. San Paolo U.S. Holding Co., Inc., 35 Cal.4th 1159, 1171 (2005)]:
26 ‘United States Supreme Court precedents appear to contemplate, in some
27 circumstances, the use of measures of harm beyond the compensatory damages.’”
28                     The Rubio Court explained: “In State Farm [Mut. Automobile Ins. Co. v.
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 1 Campbell 538 U.S. 408, 416–418, 123 S.Ct. 1513, 155 L.Ed.2d 585 (2003)], the high
 2 court articulated ‘three guideposts’ for courts reviewing punitive damages: ‘(1) the
 3 degree of reprehensibility of the defendant's misconduct; (2) the disparity between the
 4 actual or potential harm suffered by the plaintiff and the punitive damages award; and
 5 (3) the difference between the punitive damages awarded by the jury and the civil
 6 penalties authorized or imposed in comparable cases.’” Id., at 90.
 7                     Defendant’s conduct was highly reprehensible. It acted swiftly to appease its
 8 major stakeholder who had a “strong interest” in termination of any employee who
 9 attended a rally for the opposition political party [ACF14]. Defendant denied
10 Plaintiff the basic right to present her explanation when falsely accused of inciting or
11 participating in a riot. The termination decision was made in 10 minutes, based on a
12 social media posting and watching “entertainment” news on television. Even today,
13 Defendant eschews eye witness testimony in favor of its own political agenda.
14 Egregiously, the unsworn “entertainment” news versions on which Defendant relies
15 cannot even be considered by the trier of fact, see for instance, 9th Circuit Model Jury
16 Instructions, No. 1.15:
17                     Do not communicate with anyone in any way and do not let anyone else
                       communicate with you in any way about the merits of the case or anything to
18                     do with it. This includes discussing the case in person, in writing, by phone,
                       tablet, or computer, or any other electronic means, via email, text messaging, or
19                     any internet chat room, blog, website or application, including but not limited
                       to Facebook, YouTube, Twitter, Instagram, LinkedIn, Snapchat, Tiktok, or any
20                     other forms of social media. This applies to communicating with your fellow
                       jurors until I give you the case for deliberation, and it applies to
21                     communicating with everyone else including your family members, your
                       employer, the media or press, and the people involved in the trial, ... [Emphasis
22                     added].
23                     In State Court, see CACI 116: “The evidence that is presented in court can be
24 tested; it can be shown to be right or wrong by either side; it can be questioned; and it
25 can be contradicted by other evidence. What you might read or hear on your own
26 could easily be wrong, out of date, or inapplicable to this case.” [Emphasis added].
27                     It is impossible to accept Defendant’s explanation that it would give more
28 credence to news reporting than to its own employee, where the news station owners
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 1 are patently dedicated to providing “entertainment” for profit rather than providing a
 2 forum for honest debate – why else is the news sandwiched between episodes of
 3 “Friends” and “NCIS?” Defendant inconsistently argues it rightfully terminated
 4 Plaintiff for trespass on the Capitol [Doc. 100, 25:14], but then hedges its bets, by
 5 claiming it could have made a legitimate mistake, since the determining factor should
 6 be its subjective motivation for termination, again relying on Wills v. Super. Ct., 195
 7 Cal.App.4th 143 (2011) [Doc. 100, 26:3]. Defendant’s wrongful motivation here can
 8 be inferred even if not overtly expressed. In Nazir v. United Airlines, Inc., 178
 9 Cal.App.4th 243, 283 (2009) (reversing summary judgment in case involving
10 harassment and retaliatory termination of employment) the appellate court observed:
11 “Proof of discriminatory intent often depends on inferences rather than direct
12 evidence.... And, because it does, ‘very little evidence of such intent is necessary to
13 defeat summary judgment.’”
14                     Defendant cites authority that punitive damages have no place in a case relying
15 on respondeat superior [Doc. 100, 28:21], which is not this case. But, Defendant gets
16 to that point by quibbling that Plaintiff was only employed for a short time period
17 [Doc. 100, 12:9]. Defendant’s argument is debunked by its own witnesses,
18 particularly by the testimony of Thomas Hand, Plaintiff’s supervisor, who recounted
19 how the same corporation had changed names three times in 20 years, as Hewitt,
20 Aon-Hewitt, and then Alight, all having in common the same supervisors, same co-
21 workers, same customers, same type of work, and similar computer programs to do
22 the work [ACF4]. It is Defendant itself, that is liable for punitive damages.
23                     A corporation cannot use the services of an employee for her entire adult life
24 and then kick her to the curb for expressing an opposing political view, without being
25 exposed to claim of punitive damages for such malicious and oppressive conduct.
26 Recall the admonition of Thomas Jefferson; Defendant practices tyranny by forcing
27 its work force to adopt a single political ideology.
28 ///
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 1                                                   3. CONCLUSIONS
 2                     The wrongful termination of employment claim is based on the pretext of
 3 immediate termination for participating in a riot, where favorable eye witness
 4 testimony by Sam Lewis and Maria Jaramillo was ignored in Defendant’s motion,
 5 because the true ground for adverse employment action was to punish Plaintiff for
 6 reporting harassment and cyberbullying – her mandatory duty – and for exercising her
 7 rights to political speech and assembly – which is her statutory right. It is unjust for
 8 Defendant to reserve its criticism of the eye witnesses, probably based on their
 9 opposing political views, until its reply brief.
10                     Simply because her political views differed from Defendant’s corporate dogma
11 and to appease its major stakeholder, Defendant maliciously and purposefully acted to
12 inflict serious harm on Plaintiff, who was employed by Defendant and its
13 predecessors-in-interest for almost her entire adult life.
14                     Plaintiff was the victim of a cyber attack. She did not publish any affiliation
15 with Defendant on social media; the harasser posted the comment to Defendant’s
16 private inbox. Defendant suffered no harm, because no one outside the company
17 could access the social media post [ACF10]. The contractual breach of covenant of
18 good faith and fair dealing claim is based on termination for improper cause.
19                     Wherefore, Plaintiff prays that the motion for summary judgment or partial
20 summary judgment be denied and for such other relief as shall be proper.
21                                                              Respectfully submitted,
22                                                              FLYER & FLYER, A PROFESSIONAL
                                                                LAW CORPORATION
23
24 Dated: July 1, 2022                                  By:           /s/ David R. Flyer
                                                                David R. Flyer
25                                                              Raquel Flyer Dachner
                                                                Attorneys for
26                                                              Plaintiff LEAH SNYDER
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